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PHILIP D. MUEPHY OFFICE OF THE A'lTORNEY GENERAL MATTHEW J, PLATKIN
  Governor DEPARTMENT OF LAW AND PUBLIC SAFETY Attorney General
                                                DIVISION OF LAW
TAHESHA L. WAY PO Box 46029 MICHAEL T. G. LONG
 Lt. Governor Newark, NJ 07101 Director




                                                July 5,2024

   VIAECF
   Hon. Jylien X. Neals, U.S.DJ.
   United States District Court
   District of New Jersey
   Martin Luther King Jr. Federal Building
   & U.S. Courthouse
   50 Walnut Street
   Newark, New Jersey 07101

                   Re: United States ; et at. v. Apple Inc.
                          CaseNo.2:24-cv-04055
                          Pre-Motiou Conference July 17,2024, at 11:00 A.M.


   Dear Judge Neals:

          This Office, by and through Attorney General Matthew J. Platkm, represents Plaintiff, the
   State of New Jersey ("New Jersey"), and is appearing as local counsel for the Platuuff-States of
   Arizona, California, Connecticut, the District of Columbia, Indiana, Maine, Massachusetts,
   Michigan, Minnesota, Nevada, New Hampshire, New York, North Dakota, Oklahoma, Oregon,
   Tennessee, Vermont, Washington, and Wisconsin (collectively, "Plaintiff-States") in the above-
   captioned matter. This con'espondcnce is respectfully submitted on behalf of the Plaintiff-States
   and the United States concerning appearances at the pre-motion conference scheduled by the Court
   for July 17,2024,at 11:00 AM (ECF No.63).

           Counsel for the Plaintiff State of New Jersey and the United States intend to attend the pre-
   motion conference in person. Plaintiffs, however, respectfully request that Your Honor permit
   other counsel for the Plaintiff-States and the United States to attend the conference virtually via
   telephone dial-in or any alternative means that are most convenient for the Court.

          In addition, New Jersey and the United States request that counsel of the Plaintiff States
   and the United States who are not actively making an appearance be permitted to attend virtually
   for a!l future conferences and hearings over the course of this litigation.

           Your Honor's time and consideration of this matter are greatly appreciated.
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                               Respectfully submitted,



                               MATTHEW J. PLATKIN
                               ATTORNEY GENERAL OF NEW JERSEY

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So ORDERED 7/8/2024:




JULJ^XAI\gER NEALS
Unjted ^ates I|istrict Judge
